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                            THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION


CONSTRUCTION WORKERS PENSION                         )
TRUST FUND LAKE COUNTY AND                           )
VICINITY,                                            )
                                                     )
                                Plaintiff,           )
                       v.                            )
                                                     )
CRI CONSTRUCTION SERVICES, INC.,                     )
an Indiana Corporation                               )
                                                     )
                                Defendant.           )


                                         COMPLAINT

      Plaintiff, CONSTRUCTION WORKERS PENSION TRUST FUND LAKE COUNTY

AND VICINITY, by and through their Attorneys, Aaron A. Koonce, of the Law Office of Aaron

A. Koonce, and Robert B. Greenberg and Matthew S. Jarka, of Asher, Gittler & D’Alba, Ltd.,

complaining of the Defendant, CRI CONSTRUCTION SERVICES, INC., an Indiana Corporation,

as follows:

                                             COUNT I


       1.      This action is brought under the provisions of Sections 502 (a)(3) and (g)(2) and
Section 515 of the Employee Retirement Income Security Act of 1974 ("ERISA"), 29 U.S.C., Secs.
1132(g)(2), (a)(3), and 1145.
       2.      Jurisdiction in this Court is based upon Sections 502(e)(1) and 502(e)(2) of ERISA
[29 U.S.C. Sec. 1132(e)(1) and (e)(2)], which states in relevant part:




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         Where an action under this subchapter is brought in a district court of the United
         States, it may be brought in the district where the plan is administered, where the
         breach took place, or where a defendant resides or may be found, and process may
         be served in any other district where a defendant resides or may be found.

         3.     The CONSTRUCTION WORKERS PENSION TRUST FUND LAKE COUNTY

AND VICINITY ("Fund") has been established pursuant to collective bargaining agreements

heretofore entered into between CONSTRUCTION WORKERS, ("Union") and Defendant, and

the Fund is maintained and administered in accordance with and pursuant to the provisions of

Section 302(c)(5) of the National Labor Relations Act, as amended, ERISA and other applicable

federal law and the Fund is administered pursuant to the terms and provisions of a certain Restated

Agreement and Declaration of Trust ("Trust Agreement").

         4.   The Fund office is located at 2111 West Lincoln Highway (Route 30), Merrillville,

Indiana 46410, and the Fund is administered in the Northern District of Indiana.

         5.     As provided in the Trust Agreement, Plaintiff is required to receive, hold and

manage all monies required to be contributed to the Fund in accordance with the provisions of the

then applicable Collective Bargaining Agreement for the uses and purposes set forth in the Trust

Agreement.

         6.     Defendant is an employer engaged in an industry affecting commerce and maintains

its principal place of business at 7285 W. 600 N. Larwill, Indiana 46764.

         7.     Defendant employs or has employed persons represented for collective bargaining

purposes by the Union and agreed to be bound by the Collective Bargaining Agreement or

agreements referred to herein, by the terms of which Defendant was required to contribute to the

Funds.



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       8.      That from October 15, 2018 through December 31, 2019, Defendant has employed,

and will continue in the future to employ, diverse number of individuals which are unknown to

Plaintiff but are known to Defendant on whose behalf Defendant has routinely failed to report and

remit contributions.

       9.      Plaintiff is entitled to an accounting from Defendant, said accounting to state the

number of individuals regularly employed by Defendant, including those regularly employed on a

part-time basis, and the length of time all said individuals were employed by Defendant for the

period October 15, 2018 through December 31, 2019.

       10.     Plaintiff, in its behalf, and on behalf of all employees for whose benefit the Funds

were established, have requested Defendant to submit its books and records for an audit as

provided for in the Funds’ Trust Agreement, which is incorporated into the Bargaining Agreement,

but Defendant has refused and failed to perform as herein alleged.

       11.     Plaintiff is without an adequate remedy at law and will suffer immediate, continuing

and irreconcilable injury and damage unless Defendant is ordered to specifically perform all of his

obligations required under the Collective Bargaining Agreement and the Trust Agreement, and is

restrained from continuing to refuse to perform as thereunder required.

       WHEREFORE, Plaintiff prays:
       (a)     That Defendant be compelled to produce such books and records as are required by
Plaintiff’s auditors, and to pay to Plaintiff any amounts found due and owing in accordance with
the applicable provisions of its Collective Bargaining Agreement.


       (b)      That Defendant be compelled to account to Plaintiff for contributions due as
aforesaid and to pay to Plaintiff any amount found due and owing in accordance with the applicable
provisions of its Collective Bargaining Agreement.


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        (c)      That Plaintiff be awarded its costs, including reasonable attorney's fees incurred in
the prosecution of this action as provided in the Collective Bargaining Agreement and under the
applicable provisions of ERISA, as amended.


        (d)      That interest and/or liquidated damages be assessed against Defendant as provided
in the Collective Bargaining Agreement and the applicable provisions of ERISA, as amended.


        (e)      For such other and further relief as the Court may determine just and proper.


                                             COUNT II


        12.      Plaintiff incorporates by reference the facts alleged in paragraphs 1-8 of Count I as

if set out in full herein.

        13. That from October 1, 2019 through January 31, 2020 Defendant has employed and will

continue in the future to employee, a diverse number of individuals who are unknown to Plaintiff

but are known to Defendant on whose behalf Defendant has failed to report and remit

contributions.

        14.      Plaintiff is without an adequate remedy at law and will suffer immediate, continuing

and irreconcilable injury and damage unless Defendant is ordered to specifically perform all of its

obligations required under the Collective Bargaining Agreement and the Trust Agreement, and is

restrained from continuing to refuse to perform as thereunder required.

        15.      Defendant's failure to pay in a timely manner is a violation of the Collective

Bargaining Agreement and the Trust Agreement. Plaintiff, therefore, seeks enforcement of these

provisions pursuant to Section 502(a)(3),(b)(ii) and Section 301(a) of the Labor Management

Relations Act of 1947, as amended, 29 U.S.C., Sec. 185(a).


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       16.    For the period October 1, 2019 through January 31, 2020, Defendant has failed to

remit its fringe benefit contributions and there is now due Plaintiff an estimated amount of

$12,000.00.

       17.    Plaintiff has repeatedly requested payment from Defendant as a result of the

Defendant’s failure to remit proper payments and Defendant has failed or refused to tender

payments therefor.

       WHEREFORE, Plaintiff prays:


       (a)    That judgment enter in favor of Plaintiff and against Defendant in the estimated

sum of TWELVE THOUSAND DOLLARS and 00/100 ($12,000.00) or for such amount as

determined by audit of Defendant’s records for deficiencies in its contribution obligation,

liquidated damages and interest due as aforesaid in accordance with the applicable provisions of

the Collective Bargaining Agreement.

       (b)    That Plaintiff be awarded its costs, including reasonable attorney's fees incurred in

the prosecution of this action as provided in the Collective Bargaining Agreement and under the

applicable provisions of ERISA, as amended.

       (c)    That interest and/or liquidated damages be assessed against Defendant as provided

in the Collective Bargaining Agreement and the applicable provisions of ERISA, as amended.

       (d)    That Defendant be specifically ordered to furnish to Plaintiff the required monthly

contribution reports and payments due thereunder and to continue to perform all obligations on

Defendant's part according the terms and conditions of its Collective Bargaining Agreement.

       (e)    For such other and further relief as the Court may determine just and proper.



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                                            COUNT III


        18.     Plaintiff incorporates by reference the facts alleged in paragraphs 1-8 of Count I

as if set out in full herein.

        19.     CRI CONSTRUCTION SERVICES, INC., an Indiana Corporation is a

contributing employer to the Fund. To that end, monetary contributions from CRI

CONSTRUCTION SERVICES, INC., an Indiana Corporation have been and are made to the

Fund to provide pension benefits for Underground employees that were or are Fund members,

pursuant to collective bargaining agreements and the Fund’s operating documents. Also

pursuant to those agreements and documents, from CRI CONSTRUCTION SERVICES as and is

obliged to provide a surety bond to ensure payment of CRI CONSTRUCTION SERVICES on-

going financial contributions and/or other monetary obligations owing to the Fund

        20.     On June 19, 2019, the Fund’s attorney, Robert B. Greenberg, sent CRI

CONSTRUCTION             SERVICES,     correspondence,     with    enclosures,    reminding     CRI

CONSTRUCTION SERVICES of its contractual obligations to provide a bond. A true and

accurate copy of said correspondence is attached hereto and incorporated herein as Exhibit A.

        21.     Notwithstanding its obligations to provide the Fund with a $20,000 surety bond,

CRI CONSTRUCTION SERVICES has failed and refused to provide such bond.

        22.     As of January 14, 2019, CRI CONSTRUCTION SERVICES, Inc., continues to fail

and refuse to comply with its obligations to provide the Fund with a $20,000 surety bond.

        23.     By refusing to procure the noted $20,000 surety bond, CRI CONSTRUCTION

SERVICES, INC., is in violation of its obligations to the Fund.



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       24.     Short of providing $20,000 in actual monies to be held in a Bond Account for the

benefit of the Fund, no adequate remedy at law exists in lieu of CRI CONSTRUCTION

SERVICES, INC., provision of a $20,000 surety bond to the Fund.

       25.     Short of providing $20,000 in actual monies to be held in a Bond Account for the

benefit of the Fund, the harm to the Plaintiff without an order compelling CRI CONSTRUCTION

SERVICES to provide a $20,000 surety bond to the Fund is greater than any harm to the Defendant

if such an order is entered because, inter alia: (1) CRI CONSTRUCTION SERVICES is

contractually obliged to provide a $20,000 surety in the first place; (2) provision of a $20,000

surety bond is the only way to protect the Fund’s interests in terms of ensuring the payment of on-

going contribution and/or other monetary obligations owing to the Fund; and (3) the sought relief

would not prohibit any of CRI CONSTRUCTION SERVICES business activities.



       WHEREFORE, Plaintiff, CONSTRUCTION WORKERS PENSION TRUST FUND

LAKE COUNTY AND VICINITY, prays for an entry of judgment for the principal sum of

$20,000, to be held by the Fund in a Bond Account or, in the alternative, a Court Order

compelling CRI CONSTRUCTION SERVICES to provide a $20,000 surety bond to the Fund,

and for reasonable attorneys’ fees and litigation expenses, court costs and all other relief that is

just and proper in the premises.




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Respectfully submitted,



LAW OFFICE OF AARON A. KOONCE, P.C. ASHER, GITTLER & D’ALBA, LTD.

By:     /s/ Aaron A. Koonce                    By:   /s/ Robert B. Greenberg_________
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